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     ' jy       Letter dated 5/6/2003 1:98-cr-01101-ILG-1 *SEALED* Felix Sater
ij              August Marziliano to: Leo Glasser
                Cc: todd.kaminsky
                                                                                        03/16/2011 09:31 AM
       August Marziliano            Letter dated 5/6/2003   1:98-cr-01101-ILG-1'SEALED* Felix Sater




Judge attached is a copy of the letter dated 5/6/2003 which we were looking for.
It wasn't given a document number in 98 CR 1101 since it applied to 00 CR 196 and 00 CR 930.

Should 1 attach it to the Sater case since there is an entry? By attaching it to the entry, it will
create a document number.




05/08/2003 LETTER dated 5/6/03 from Eric Comgold to Judge Glasser advising that the
government agrees that the court's restitution order should be vacated and that a new order should
not be entered.(Rodriguez,Angela)(Entered: 05/09/2003)


5-6.pdf




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